         2:07-cr-20025-SLD # 99       Page 1 of 23                                             E-FILED
                                                               Monday, 18 February, 2019 05:43:21 PM
                                                                        Clerk, U.S. District Court, ILCD

                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF ILLINOIS
                             URBANA DIVISION

UNITED STATES OF AMERICA,

Plaintiff,

vs.                                                  Case No. 07-cr-20025
                                                      Hon. Sara Darrow
JABARI VEALS,

Defendant.


               JOINT STATEMENT FOR A REDUCED SENTENCE
             PURSUANT TO SECTION 404(b) OF THE FIRST STEP ACT

       Now comes the Defendant, JABARI VEALS, by his attorney MIANGEL CODY,

and the UNITED STATES OF AMERICA, by its attorney PATRICK HANSEN, and file

this Joint Statement for a Reduced Sentence Pursuant to Section 404(b) of the First Step

Act.

                             I.     INTRODUCTION

       A.      The Fair Sentencing Act of 2010

       Prior to the Fair Sentencing Act of 2010 (FSA), an offense involving 50 grams or

more of crack cocaine triggered a 10-year mandatory minimum and a statutory maximum of

life imprisonment. An offense involving 5 to 49.9 grams of crack cocaine triggered a 5-year

minimum sentence and a statutory maximum of 40 years of imprisonment. Dorsey v. United

States, 567 U.S. 260, 266 (2012).

       Section 2 of the FSA amended § 841(b)(1)(A)(iii) by striking “50 grams” and inserting

“280 grams” and amended § 841(b)(1)(B)(iii) by striking “5 grams” and inserting “28 grams”.
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Public Law 111-220; 124 Stat. 2372, § 2. Accordingly, post-FSA, it takes 280 grams of crack

cocaine to trigger § 841(b)(1)(A)(iii)’s 10-year mandatory minimum and 28 grams to trigger §

841(b)(1)(B)(iii)’s 5-year mandatory minimum. Dorsey, 567 U.S. at 269. The Supreme Court

determined the FSA applied to any defendant who had not been sentenced as of the Act’s

effective date: August 3, 2010. Id. at 281. The FSA did not apply retroactively to defendants

sentenced prior to August 3, 2010. Id.

       B.       The First Step Act of 2018

       The First Step Act of 2018 legislatively authorized district courts to reduce pre-FSA

crack penalties retroactively for “covered offense[s]”. Specifically, § 404(a) of the First Step

Act defines a covered offense as “a violation of a Federal criminal statute, the statutory

penalties for which were modified by section 2 or 3 of the Fair Sentencing Act of 2010

(Public Law 111-220; 124 Stat. 2372), 1 that was committed before August 3, 2010.” Section

404(b) then states: “[a] court that imposed a sentence for a covered offense may, on motion

of the defendant, the Director of the Bureau of Prisons, the attorney for the Government, or

the court impose a reduced sentence as if sections 2 and 3 of the Fair Sentencing Act of

2010 (Public Law 111-220; 124 Stat. 2372) were in effect at the time the covered offense was

committed.” 2


1
       Section 3 of the FSA eliminated the mandatory sentence for simple possession of crack
cocaine in 21 U.S.C. § 844(a).
2
        There are only two limitations to the Court’s ability to impose a reduced sentence. First, the
defendant cannot receive a reduced sentence if the sentence was imposed or previously reduced in
accordance with the amendment made by sections 2 and 3 of the FSA. Second, if the Court has
already rejected a motion filed under § 404 of the Fair Sentencing Act “after a complete review of
the motion on the merits” the defendant cannot ask for a second bite at the apple. First Step Act §
404(c). Neither exception applies to Mr. Veals’s case, as he has never received or been denied a
Section 404 reduction.
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                                 II.    DISCUSSION

       A.      The Parties Agree that Mr. Veals is Eligible for a Reduced Sentence
               Pursuant to Section 404 of the First Step Act.

       On February 8, 2007, Defendant Jabari Veals was charged in a single-count

Indictment of knowingly possessing with the intent to distribute more than 50 grams of

cocaine base. The precise drug amount involved was 56 grams of cocaine base. Doc. No.

40 at p. 3. 3 On March 26, 2007, the government filed a three-strikes enhancement

pursuant to 21 U.S.C. § 851, which required the district court to sentence Defendant Veals

to a mandatory life sentence upon conviction.

       On October 3, 2007, a jury found Defendant Veals guilty. At his May 15, 2008

sentencing, the Court imposed a statutory life sentence. Doc. 46. The Seventh Circuit

Court of Appeals affirmed Veal’s conviction and sentence on January 15, 2010. See United

States v. Veals, 360 Fed. Appx. 679 (7th Cir. 2010) (unpublished).

       Section 404 of the FIRST STEP Act of 2018 independently authorizes a district

court to impose a reduced sentence for crack-cocaine convictions where the statutory

penalty provisions of the Fair Sentencing Act would have applied had the Act been in

effect at the time of the original sentencing. Since Mr. Veals’s offense was committed

before August 3, 2010, it is a covered offense as defined in § 404(a) of the First Step Act



3
        The PSR indicated and the government argued that Mr. Veals’s relevant conduct involved an
additional 223 grams of crack. The defendant objected to the PSR’s relevant conduct at sentencing.
Given the defendant’s mandatory life sentence, Judge McCuskey declined to resolve Mr. Veals’s
relevant-conduct objection, stating “the Court is not concerning itself with what other relevant
conduct may have occurred.” Doc. No. 51 at 8. Even if Mr. Veals is held responsible for an
additional 223 grams of crack, his total crack quantity(56 grams + 223 grams) remains below the
threshold 280 grams of crack.
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and the Court may “impose a reduced sentence as if sections 2 and 3 of the Fair

Sentencing Act of 2010 (Public Law 111-220; 124 Stat. 2372) were in effect at the time the

covered offense was committed.”

       Accordingly, the parties agree that Mr. Veals is eligible for a sentence reduction

pursuant to Section 404 of the First Step Act. The question is to what extent the Court

should reduce Mr. Veals’s sentence.


       B.     The Parties Agree that the Court is Free to Sentence Mr. Veals Below
              the Current Guidelines Range.

       Per the original PSR, Mr. Veals was found to be a career offender, which increased

his total offense level to 37 and his criminal history category to VI. Under the current

guidelines manual, Mr. Veals remains a career offender. His total offense level remains 37

and his criminal history category is VI, resulting in a guideline range of 360 months to life.

       Mr. Veals has been in custody since January 16, 2007. He has served approximately

144 months of actual custody. With good-time credit, Mr. Veals has credit for approximately

165 months’ incarceration. Mr. Veals has completed a number of rehabilitative programs in

prison, including the BOP Inmate Suicide Companion Program and a paralegal studies

program. 4 According to a letter from Mr. Veals’s BOP counselor, he has had no disciplinary

infractions during his 12 years of imprisonment. 5




4
       A number of Mr. Veals’s BOP certificates are attached to the instant filing as Exhibit A.
5
       January 28, 2019 letter from BOP counselor attached as Exhibit B.
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       The parties agree that a supplemental presentence investigation report would assist

counsel and the Court in fashioning a reduced sentence that is “sufficient, but not greater

than necessary” pursuant to the Sentencing Reform Act of 1984, 18 U.S.C. Sec. 3553(a).

WHEREFORE, the parties request the following course of action:

       (a)    that the Court order a supplemental presentence investigation report in the

              above-captioned matter;

       (b)    that the Court set this matter for an in-person hearing 45 to 55 days from

              the date of the instant filing; and

       (c)    that the Court issue a Writ of Habeas Corpus ad Prosequendum to FCI Talladega

              where Defendant Veals is presently incarcerated. Mr. Veals’s BOP Register

              Number is 14722-026.

Respectfully submitted,

JOHN C. MILHISER                                          JABARI VEALS
UNITED STATES ATTORNEY                                    DEFENDANT

BY: /s/ Patrick D. Hansen                                 BY: /s/ MiAngel Cody
    Assistant United States Attorney                          TDC Law Office
    318 S. Sixth Street                                       900 W. Jackson Blvd., Ste 7E
    Springfield, Illinois 62701                               Chicago, Illinois 60607
    Telephone: (271) 492-4450                                 Telephone: (312) 858-8330
    Facsimile (271) 492-4512                                  Facsimile (312) 858-8334
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                             CERTIFICATE OF SERVICE

       The undersigned, MiAngel Cody, an attorney with The Decarceration Collective
hereby certifies that on February 18, 2019, I electronically filed the following with the
Clerk of the Court using the CM/ECF system:


               JOINT STATEMENT FOR REDUCED SENTENCE
               UNDER SECTION 404(b) OF THE FIRST STEP ACT


                                                                   /s/ MiAngel Cody
                                                                  MIANGEL CODY

                                         THE DECARCERATION COLLECTIVE
                                                                LAW OFFICE
                                                  900 W. Jackson Blvd. Suite 7E
                                                             Chicago, IL 60607

                                                               Attorney for Jabari Veals
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         EXHIBIT A: BOP
          CERTIFICATES
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                          CREDENTIALS OF MINISTRY

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                     President 1999-2006
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 Certificate of
 Completion
                        This certifies that:
            Jabari Veals (14722-026)
      Completed the Coping Skills section of the
        "Turning Point" Self-Study Program
                       at the
    United States Penitentiary,             Lee County, VA




           D. Maurer, Chief Psychologist    October 23, 2014
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            F.C.C. TERRE HAUTE


Certificate of Completion
                         Jabari Veals
                             #14722-026

   DRUG ABUSE EDUCATION PROGRAM
                                (15 Hours)

                             October 2, 2009



                                               Dr. Rupska, DAP Coordinator
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CERTIFICATE OF COMPLETION

                                         Presented To


                                  Jabari Veals
                       for completion ofFCI Talladega's
          ACE CDL (GROUND TRANSPORTATION)
               Given this 24th day of March 2017
                                      Talladega, Alabama
                                                                      ,


C. Williams,Supervisor of Education                        M Cairo, ACE Coordinator
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CERTIFICATE OF COMPLETION

                         Presented To


                   Jabari Veals
             for completion ofFCI Talladega's
                  ACE REAL ESTATE
         Given this 19th day of December 2016
                                                                        . .._.,A

                    Talladega, Alabama
     ,   .
                                             M Cairo, ACE Coordinator
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                Board of Trustees confers upon


                    Ja6ari 'Veais
               this certificate of completion for


Construction Site Safety Orientation
       in the Standardized Craft Training Program
   on this Seventeenth day of March, in the year 201 7




                                ~f.0~
                                  Donald E. Whyte
                                 President, NCCER
     2:07-cr-20025-SLD # 99   Page 19 of 23




   --N(lt(!t1£1R--
                   Board of Trustees confers upon


                      Ja6ari 'Veals
                  this certificate of completion for


CoreCurriculum: Iniroductoru Craftsti{{s
          in the Standardized Craft Training Program
      on this Seventeenth day of March, in the year 201 7




                                    ~f.0Jt
                                      Donald E. Whyte
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 EXHIBIT B: CHARACTER
REFERENCE LETTER FROM
  BOP UNIT MANAGER
      2:07-cr-20025-SLD # 99    Page 23 of 23


                                                U.S. Department     of Justice

                                                      Federal Bureau of Prisons

                                                 Federal Correctional Institution


                                                       565 EAST RENFROE ROAD
                                                  TALLADEGA, ALABAMA 35160-9981
                                                            256-315-4100
January 28, 2019



REPLY                 ,'         0~;-k-t
TOTHEATTN:

SUBJECT:           Mr. Jabari A. eals, Reg. No. 14722-026


To whom it may concern;

Inmate Veals arrived at FCI Talladega on July 25,2016; however, he has been
in continual federal custody of the Federal Bureau of Prisons since
May 15, 2008. Inmate Veals is currently serving a life sentence for 1 ct. of
Possession With Intent to Distribute 50 grams or more of Crack Cocaine.

Inmate Veals has not received any disciplinary infractions during his
incarceration.

Inmate Veals has continuously programmed throughout his incarnation in the
Federal Bureau of Prisons since 2011.

Inmate Veals has received Good or Outstanding work performance rating from
all of his assigned work details while incarcerated in the Federal Bureau of
Prisons.

Inmate Veals has completed numerous vocational, educational, and cognitive
courses during his incarceration in the Federal Bureau of Prisons.



For further information and assistance please contact me at 256-315-4244 or
at dbrookS@bop.gov.
